Case 1:18-cv-02921-.]I\/|F Document 510-3 Filed 11/07/18 Page 1 of 73

10-26-2018 Langdon. Sanford Page 11'.'

 

 

 

F'age 118{305

 

Case 1:18-cv-02921-.]I\/|F Document 510-3 Filed 11/07/18 Page 2 of 73

10-26-2018 Langdon. Sanford Page 118

 

 

20 Q- Did you have any discussion about What
21 leeway you would have to change the questions on

22 the decennial census after submitting the

 

 

Page 1191‘305

Case 1:18-cv-02921-.]I\/|F Document 510-3 Filed 11/07/18 Page 3 0173

10-26-2018 Langdon. Sanford Page 121

 

1 year there was discussion about adding a

2 citizenship question to the census, correct?

3 A. Uh-huh_ Uh-huh_

4 Q- Was there any discussion about whether

5 the citizenship question fell within one of the

6 topics that was identitied in the submission to

7 Congress in March 2017?

8 A- | guess l d'on't understand the question

9 in the sense it's sort of black and white. Right?
10 l mean', you can look on paper and say, here's what
11 Cong-ress got. Right? | me-an, there's no -- |

12 mean, there's not much to discuss there, is there,
13 rea||y? | don't reca|l- l mean, is the question,

14 you know, did we say we would include citizenship

15 on the 2020 census, for example?

 

 

 

   

Page 1221'305

Case 1:18-cv-02921-.]I\/|F Document 510-3 Filed 11/07/18 Page 4 0173

10-26-2018 Langdon. Sanford F‘age 122

 

 

 

Case 1:18-cv-02921-.]I\/|F Documen1510-3 Filed 11/07/18 Page 5 0173

10-26-2018 Langdon. Sanford Page 123

 

 

 

Page 124_!305

 

Case 1:18-cv-02921-.]I\/|F Documen1510-3 Filed 11/07/18 Page 6 0173

10-26-2018 Langdon. Sanford Page 124

 

_
_
_
_

11 Q. No. About the circumstances in which you

12 can include a question in the March 2018

13 submission that wasn't in the March 2017 topics_

14 A_ That's a process question that | don't_

15 recall being a part of_

16 MR. DURAISWAMY: Why don't we take a

17 ive-i'ninute break`?

18 THE VIDEOGRAPHER: Going off the record.

19 The time is 11:08-_

20 (Whereupon, a short recess was taken-)

21 THE VIDEOGRAPHER: .Going back on the

22 record. The time is 11;23_

 

 

Page 125;'305

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/07/18 Page 7 0173

10-28-2018 Langdon. Sanford Page 132

 

1 Q. When were those discussions?

2 A-. When l was aware of them? | don't know

3 when the discussions were_ l mean, l became aware
4 of them, lil<e1 you know, later in the summer and
5 the fall_ Yeah-

6 Q. What discussions with DOJ did you become
7 aware of?

8 A- You know, just around sort of - l mean,

9 around the process Like l said, l never - l

10 don't know sp_eciHcally -- l've never looked into,
11 like, the analytical need for the data. Right? |
12 mean, the actual - you know, how the data was
13 specifically going to be used.

14 Q- You_r sentence Ki'nd of broke up there, so

15 l'm not sure which part goes with which_

16 A. We can start over.

 

 

 

   

Page 1331"305

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/07/18 Page 8 0173

1 U-28-2018 Langdon. Sanford Page 133

 

10 BY MR- DURAISWAMY;

_l
.-.-L

17 Q- Well, just to your knowledge l mean,

18 you know that Mr. Uthmeier was invoived in those
19 discussions, right?

20 A. Yeah.

21 Q. Okay. Do you know if anyone else was

22 involved in those discussions?

 

 

Page 134;'305

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/07/18 Page 9 0173

1U-28-2018 Langdon. Sanford Page 144

 

 

 

   

Page 1451305

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/07/18 Page 10 0173

1U-28-2013 Langdon. Sanford

 

 

 

F'age 1461305

 

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/07/18 Page 11 0173

18-28-2018 Langdon. Sanford F‘age 148

 

 

 

F'age 147!305

 

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/07/18 Page 12 0173

18-28-2018 Langdon. Sanford F‘age 147

 

21 BY MR. DURA|SWAMY:

22 Q. ¥ou recall - sir, _you recall being asked

 

 

Page 1481|'305

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/07/18 Page 13 0173

18-28-2018 Langdon_, Sariford Page 148

 

1 to look into this, don't you?

2 MS- WELLS: Object to the form.

3 THE WlTNESS: From Earl?

4 l'le. DURA|SWAMY: What's wrong with the
5 form of the question?

6 MS. WELLS: lt's, like, argumentative and

7 leading. And you could have -- you haven't laid
8 the foundation for What the context might have
9 been. Just - to me, l don't think it's a totally
10 appropriate question-

11 MR. DURAISWAMY: l can ask leading

12 questions it's not argumentative All l've

13 asked is - lt is a foundational question, if he
14 recalls being asked to look into this.

15 lvlS. WELLS: You didn't ask it that way.

16 But, l mean1 that's line. He can go ahead and

17 answer_

18 BY MR. DURAISWAMY;

 

 

 

   

Fage 1491'305

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/O7/18 Page 14 0173

18-28-2018 Langdon. Sanford Page 149

 

17 Q_- And this related to consideration of

18 whether to inciude a citizenship question on the
19 census, correct?

20 A- l don't believe Earl gave me the context

21 about why he was asking about lt.

22 Q_. Do you recall that you had subsequent

 

 

Page 150¢'305

 

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/O7/18 Page 15 0173

18-28-2018 Langdon, Sanford Page 157

 

1 content of the decennial census at this meeting‘?
2 MS. WEI_LS: Object to form.

3 THE WlTNESS: Like l say, l don't recall

4 the specihc agenda of that meeting But it's all
5 documented

6 BY MR. DURA|SWAMY:

7 Q. Documented where?

8 A- ln the PowerPoints that l, you know,

9 mentioned earlier_ The Census Bureau, when it has
10 meetings like this, you know1 prepares slide

11 decks. Nlakes it easier for everybody to follow
12 what's going on_

13 Q- lf you go up to the next e-mail, which is

14 the third one on the tirst page.

15 A. Okay.

16 Q. There's an e-mail from Mr. Reist back to

17 you-

18 A. Uh-huh.

19 Q- Actual|y, strike that.

 

 

   

Fage 1581305

 

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/O7/18 Page 16 0173

18-28-2018 Langdon. Sanford Page 158

 

12 Q- Okay. And just so |'m ctear, sitting

13 here today, you have no recollection of what

14 Louisiana v. Bryson is about?

15 A- No-

16 Q. Or what the 1989 DOJ letter Was about?

17 A- NO-

18 Q- Okay. So then Nlr_ Reist responds at

19 5:42 p.m. Di_d you have any follow-up

20 conversations with either him or M'eiissa Creech or
21 James Dinwiddie or Lisa B|umerman about the

22 contents of the materials that Mr_ Reist had sent

 

 

Page 1591305

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/O7/18 Page 17 0173

18-28-2018 Langdon, Sanford Page 180

 

_\\

included him, which would have been Burton.

2 Q- Do you have a sense of what his

03

responsibilities were that related to the subject
4 matter of these e-mails:?

5 A_ No. l think |just answered that So

6 no.

7 Q- You don't?

8 A- NO-

 

 

 

Page 161¢'305

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/O7/18 Page 18 0173

18-28-2018 Langdon. Sariford Page 181

 

 

 

F'age 1621305

 

Case 1:18-cv-02921-.]l\/l|: Documen1510-3 Filed 11/O7/18 Page 19 0173

18-28-2818 Langdon. Sariford Page 182

 

19 2020 census questionnaire?
20 -A- No-
21 Q. ‘{ou then say-, "|t might be good to have

22 in our back pocket the criteria used to pick

 

 

F'age 163{305

Case 1:18-cv-O2921-.]l\/lF Documen1510-3 Filed 11/O7/18 Page 20 0173

18-28-2018 Langdon. Sanford Page 187

 

1 Q. When did you become more fluent on the
2 subject matter?

3 A. l mean, over time, really_ l mean, it

4 wasr like - it was engaging with - you know-,

5 with Melissa - particularly with Melissa, but

m

also with Lisa on basically trying to gain an

7 understanding of a lot of the questions l was

m

particularly interested for one - one that's

9 unrelated to this, but was on the 2020 census l
10 didn't understand was, for example, the housing
11 tenure question. There's a question on there, do
12 you own or rent your house? And it didn't really
13 enter into my mind why -

14 Q. Right_ So-

15 A- - that question was on the fonn.

 

 

 

   

Fage 1681'305

Case 1:18-cv-O2921-.]l\/lF Documen1510-3 Filed 11/O7/18 Page 21 0173

18-28-2818 Langdon, Sariford Page 188

 

16 Q. Right. So this is - you're trying to

17 respond promptly to questions that he asked at
18 this meeting on May 24th about why citizenship _
19 the citizenship question is on the ACS but not the
20 Census; is that right?

21 A. W_et|, notjust - that is one example |

22 mean, it's the broader question of what's on each

 

 

F'age 1591‘305

Case 1:18-cv-O2921-.]l\/lF Document 510-3 Filed 11/O7/18 Page 22 0173

18-28-2818 Langdon. Sanford Page 172

 

1 Q. `You see that this is an e-mail that you

2 sent to Ear| Comstock and Ellen Herbst on the
3 evening of `May 24th after the meeting with

4 Secretary Ross?

5 A_ Yes_

6 Q. And it's in the midst of the other

7 e-mails that you were exchanging with census
8 staff -

_9 A- ¥ep_

10 Q- - that are in Exhibit 6, correct?

11 A- Yeah, exactly

 

 

 

   

Page 1731305

Case 1:18-cv-O2921-.]l\/lF Document 510-3 Filed 11/O7/18 Page 23 0173

18-28-2818 Langdon. Sariford Page 173

 

 

 

F'age 1741‘305

 

Case 1:18-cv-O2921-.]l\/lF Document 510-3 Filed 11/O7/18 Page 24 0173

18-28-2818 Langdon. Sanford Page 174

 

 

 

Case 1:18-cv-O2921-.]l\/lF Document 510-3 Filed 11/O7/18 Page 25 0173

18-28-2818 Langdon. Sanford Page 175

 

 

 

Page 176!305

 

Case 1:18-cv-O2921-.]l\/lF Document 510-3 Filed 11/O7/18 Page 26 0173

18-28-2818 Langdon. Sanford Page 178

 

 

 

 

Case 1:18-cv-O2921-.]l\/lF Document 510-3 Filed 11/O7/18 Page 27 0173

18-28-2818 Langdon. Sariford Page 177

 

 

 

F'age 1781305

 

Case 1:18-cv-O2921-.]l\/lF Document 510-3 Filed 11/O7/18 Page 28 0173

18-28-2818 Langdon. Sanford Page 182

 

 

 

F'age 1831305

 

Case 1:18-cv-O2921-.]l\/lF Document 510-3 Filed 11/O7/18 Page 29 0173

18-28-2818 Langdon. Sanford

 

16 Q. Right. And presumably they came up

17 together in the meeting earlier that day, correct?
18 A. lwouldn't -

19 MS_ WELLS: Object to the form_

20 THE WITNESS: l don't share that

21 presumption

22 BY MR. DURA[SWAMYZ

 

 

Page 1847305

Case 1:18-cv-02921-.]l\/lF Document 510-3 Filed 11/07/18 Page 30 0173

1 8-28-2018 Langdon, Sanford

 

_\.
CJ

12 BY MR. DURA[SWAMYZ

 

16 BY MR. DURA|SWAMY:

17 Q. When did you receive that request?

18 A. l don't know_ l'd have to go back and
19 check. You know, it he sent me an e-mail1
20 whenever l got that e-mail, if he asked me,
21 then - or Ellen, who is also on this.

22 Q. What did he tell you about why he was

 

 

Fage 185{305

Case 1:18-cv-02921-.]l\/lF Document 510-3 Filed 11/07/18 Page 31 0173

18-28-2018 Langdon. Sariford Page 185

 

1 asking you to look into this?

2 MS- WELLS: Object to the form. You're

3 assuming that he told you [sic]- He said he

4 wasn't sure

5 BY MR. DURA[SWA_MYZ

6 Q. You can answer.

7 A- l` do not recall whether Ead asked me or

8 e-mailed me about it- And what the context Was,
9 you know, l can't give you the context on an ask

10 that l don't remember.

 

 

 

Page 186!305

Case 1:18-cv-02921-.]l\/lF Document 510-3 Filed 11/07/18 Page 32 0173

18-28-2018 Langdon. Saritord Page 188

 

15 BY' MR. DURA|SWAMYZ

16 Q. Okay. Do you know if you were involved
17 in preparing the document?

18 A. The DOJ opinion?

19 Q- The attachment to your e-mail-

20 A. Like, assembling -it?

21 Q. Drafling it.

22 A_ Well, there's nothing -- if l’m

 

 

Page 187!305

Case 1:18-cv-02921-.]l\/lF Document 510-3 Filed 11/07/18 Page 33 0173

18-28-2018 Langdon. Sanford Page190

 

1 AFTERNOON SESS|ON

2 (1:16 p-m-)

3 THE VIDEOGRAPHER: Going back on the

4 record. The time is 1316.

5 (Deposition Exhibit_ Number 8 was marked

6 for identification.)

7 Whereupon,

8 DAV|D SANFORD LANGDON,

9 was called for continued examination, and having
10 been previously duly sworn was examined and
11 testified further as follows:

12 EXAM|NAT_|ON BY COUNSEL FOR KRAV|TZ PLA|NTIFFS

13 BY MR. DURA|SWAMYZ

 

 

 

Page 191¢'305

Case 1:18-cv-02921-.]l\/lF Document 510-3 Filed 11/07/18 Page 34 0173

18-28-2818 Langdon. Santord Page 181

 

 

 

 

F'age 1921305

 

Case 1:18-cv-02921-.]l\/lF Document 510-3 Filed 11/07/18 Page 35 0173

1 0-28-2018 La ng do n, Sanfo rd

 

1 Q. Right. And you say that your hunch is

2 "that the policy change on the citizenship

3 question is tied to the creation of the ACS- l

4 will share what they say and will review the court

5 case."

6 You recall that they, meaning the Census

7 Bureau staff, came back to you with an explanation
8 as to why the citizenship question was on the ACS,
9 but not the decennial?

10 A. l can't remember the exact answer- lvly

11 hunch wasn't entirely correct, actually, so, l

12 mean, the - it was only a hunch. The - l mean,

13 the -- there was confusion here between the --

14 what used to be the short-form --

15 o. night

16 A. -- census, which is now the regular

17 census, the long-form census and then ACS.

18_

Page 1931'305

 

 

Case 1:18-cv-02921-.]l\/lF Document 510-3 Filed 11/07/18 Page 36 0173

18-28-2818 Langdon. Santord Page 193

 

 

 

 

F'age 1941305

 

Case 1:18-cv-02921-.]l\/lF Document 510-3 Filed 11/07/18 Page 37 0173

18-28-2818 Langdon. Sanford Page 194

 

21 Q. Your understanding that this court case

22 regarding the governmental need for citizenship

 

 

F'age 1951-305

 

Case 1:18-cv-02921-.]l\/|F Document510-3 Filed 11/07/18

1 0-28-2018 La ng do n, Sanfo rd

Page 38 of 73

 

1 Q. Okay. Prior to learning about the
2 discussions with DOJ regarding this issue in late
3 summer or early fall of 2017, did you have any
4 discussions with anyone about the need for
5 citizenship data for voting rights purposes other
6 than what's reflected in Exhibit 8? Let me try
7 that again, because it's kind of a long question
8 A. Yeah, it was. Thank you-
9 Q. What l'm trying to understand is, in
10 Exhibit 8, Mr. Comstock e-mails you with this,
11 quoteiunquote, relevant court case on the
12 governmental need for citizenship data, correct?
13 A. Uh-huh.
14 Q. And then some months later you become
15 aware of conversations between Commerce Department
16 and Department of Justice regarding the potential
17 need for citizenship data for DOJ purposes,
18 correct?
19 A. Uh-huh.
20 _
_
_

 

Page 2031305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 39 of 73

18-28-2018 Langdon1 Sanford Page 203

 

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Fage 204;'305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 40 of 73

18-28-2818 Langdon. Sanford Page 204

 

22 Q. `You don't remember 'anything?

 

 

F'age 205!305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 41 of 73

1 0-28-2018 Langdon, Sanford Page 21 1

 

1 mentioned this earlier - that he's been heavily
2 engaged with Census Bureau staff practically since
3 he came on as Secretary on a whole variety of
4 issues -- actually, kind of - basically What it

5 says here, on a whole variety of issues regarding
6 the census.

7 lle. DURAlSWAMY: lVlove to strike as

8 nonresponsive everything after "it would be

9 unusual for somebody to do it on their own_"
10 (Deposition Exhibit Number 10 was marked

11 for identification.)

12 BY MR. DURA|SWAM\’I

13 Q. lVlr. Langdon, l'm handing you what we've
14 marked as Exhibit 10_

15 A. Uh-huh.

16 Q. This is an e~mail that you sent to Sahra

17 Park-Su _

18 A. Yep.

19 -Q'- _ a few months ago, June 22nd,_ 2018 Do
20 you see that?
21 A. U`h-huh.

22_

 

Page 2127305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 42 of 73

18-28-2018 Langdon. Sanford Page 212

 

 

 

 

   

Page 2131"305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 43 of 73

1 8-28-2018 La ng do n, Sanfo rd Page 21 3

 

2 Q. What he had testified to in Congress

3 appeared to be contradicted by the memo that's
4 Exhibit 9, correct? That's what the article

5 indicated?

6 A. Yeah.

7 Q. Was that -- that was concerning to you?

8 A. Concerning to me? No_ l thought it was

9 interesting

10 Q- Surprising?

11 A. Yeah, surprising.

12 Q. Okay. ls there a particular reason that

13 you wanted Ms. Park-Su to be aware of this?
14 A- As l stated before1 we worked a lot on

15 Census Bureau issues in the policy office

16 together. We sit also literally right next to

17 each other, from here - we sat from here to

18 there, so we --

19 Q. No, l understand And l'm trying to

20 understand ifthis was more of, like, here's

21 something related to the census that you might be

22 interested inl or if there was something specific

 

 

Fage 2141305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 44 of 73

18-28-2018 Langdon, Sanford Page 223

 

1 sometime during the summer, give or take a month.
2 When l say late summerF it would be, like, August-
3 l'vlaybe August - August could have been July; July
4 could have been September. l don't know exactly,
5 to be frank.

6 Q. But the conversation -the hrst

7 conversation with Eari that you recall would have

8 been roughly around the time that you first

9 remember learning that Secretary Ross was

10 interested in adding the question to the census,

11 correct?

12 A. Yeah. l mean, because that's - that -

13 the Secretary expressing interest in it would lead

14 to follow-up activity, and that would include

15 conversation with Earl or others

16 Q. Okay. That's all l'm trying to

17 understand lt's not a trick question l'm just

18 trying to make sure l understand What you remember

19 and what you don't remembe_r_

20 A. Yeah.

 

 

 

   

Fage 2241305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 45 of 73

18-28-2018 Langdon. Sanford Page 224

 

9 BY MR. DURAISWAMYZ

10 Q- Do you recall attending meetings where

11 this issue was discussed?

12 A. No. l mean, l knew that - l was aware,

13 certainly, that the Secretary was scheduling quite
14 a few meetings and calls regarding this, you know,
15 different experts and such. l was aware of that
16 But l didn't - l didn't take part of in any of

17 them_

18 Q- Do you believe the issue being discussed

19 at any of the monthly oversight meetings?

20 A. No. Because it was sort of a - it was

21 a - sort of separate line of work. Right? l

22 mean1 it was something that - it was something -

 

Page 225;'305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 46 of 73

18-28-2018 Langdon. Sanford Page 238

 

1 correct?
2 A_ Yeah. l'd have to go back and see
3 when - l think the memo came in December, maybe

4 l don't remember exactly_

 

10 Q- l'vly question is whether you ever did any

11 work related to that issue

12 A. l guess l don't understand the question

13 Q. Vli'ellz let me ask it differently Did you

14 ever have any discussions with anyone about the
15 potential effects of adding a citizenship question
16 to the decennial?

17 A- l talked to John a couple of times after

18 we got the memo, just to make sure l understood
19 some of the analysis, had some questions about it
20 Q- What was the substance of those

21 conversations?

22 A. l'd have to go back and look. l mean, l

 

 

Fage 2391'305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 47 of 73

18-28-2018 Langdon. Sanford Page 243

 

1 making in your previous answer? How -

2 A- That it's not easy. lt's not easy_ lt

3 takes a lot of work. And you have to -the

4 reason it takes a lot of work is because the

5 administrative data may not measure what you think

6 it's measuring, how you think it's measuring it

 

 

 

Fage 2441305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 48 of 73

f 0-28-2018 La ng do n, Sanfo rd

 

|

11 BY lle. DURA|SWAMY:

12 Q. Did you have any conversations with
13 outside stakeholders or parties outside the
14 Commerce Department about the effects of adding a
15 citizenship question to the 2020 census?
16 A. No. l did not

17 Q- Do you know who was principally

18 responsible for those conversations?

19 A. For organizing them? For1 like - or for
20 scheduling them?

21 Q. Both organizing and actually

22 participating in the conversations

 

 

Page 2451305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 49 of 73

18-28-2818 Langdon, Sanford Page 248

 

 

   

1 number of reasons, because of the quality of the

2 answers1 because they're burdensome or whatever,
3 and whether or not we should consider using

4 administrative data as a substitute for that And

5 nowhere in that content review had any problems

6 with the question ever surfaced in terms of either

7 people not wanting to respond to it ever or in

terms of quality issues with the responses

 

 

F'age 2491305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 50 of 73

18-28-2818 Langdon. Sanford Page 249

 

19 BY"MR. DURA|SWAM¥:
20l Q- l_et m_'e. hand you what we've marked as
21 Exhibit 12.

22 (Deposition Exhibit Number 12 was marked

 

 

Page 2501305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 51 of 73

18-28-2818 Langdon. Sariford Page 252

 

17 Q- You don't see any indication in this

18 letter that the Department of Justice is

19 dissatisfied with the nature o_r quality o_r --

20 nature or quality of the citizenship data that's
21 provided from the ACS survey, do you?

22 A_ They don't make any statement about the

 

 

Page 2531305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 52 of 73

18-28-2018 Langdon_, Sanford Page 281

 

1 make sure that the 2020 census is operationally

2 ready_

 

_ :-j.-_-"' j =-; .l"-.'-'- l. '-_-'.,- _'.i i-'-.-Z'- ' _.; :-

7 Q. Apart from Mr_ Uthmeier, do you recall

8 any conversations - well, strike that_

9 Apart from lv'lr. Uthmeier and whatever

10 conversations you have had at these meetings
11 related to responding to citizenship inquiries, do
12 you recall any other conversations with folks at
13 the department about the citizenship question?
14 MS. WEI_LSZ Object to the form.

15 THE WlTNESS: Okay. Actually, to go back

16 on the question about Earl, l` would have -- l

17 mean, to be clear, as far asF like, the clearances
18 go, that's quite - l'm sure l've1 you know,

19 brought1 you know, responses to him and discussed
20 with him, you know, edits and such that he's had
21 to the citizenship question That's certainly the

22 case

 

Fage 2521305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 53 of 73

18-28-2018 Langdon, Sariford

 

1 THE REPORTER: Slow down, please

2 THE WlTNESS: lt's an implementation

3 phase The Secretary - it's on the Census Bureau
4 now to implement his decision to add this question
5 and, you know, get the systems ready. And

6 that's -- there's really not much lmore to discuss

7 in a way- We're not Monday morning - l'm not the
8 Monday moming quarterback for the Secretary's

9 decision on this_

10 (Deposition Exhibit Number 15 was marked

11 for identification-)

12 BY MR. DURAISWAMYI

13 Q. l'm handing you what we've marked as

14 Exhibit 15_ Have you seen this document before?
15 A. Let me take a look at it

16 Q. Sure.

17 A- Not this exact one |'ve seen, like,

18 versions of it

19 Q. What is it?

 

 

 

   

Fage 265{305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 54 of 73

18-28-2818 Langdon. Sariford Page 285

 

15 Q- What was the purpose of the document?
16 MS. WEI_LS: Object to the 'form.

17 BY MR- DURAISWAMYZ

18_

Page 256»"305

 

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 55 of 73

18-28-2018 Langdon. Sanford Page 288

 

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Page 2577305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 56 of 73

18-28-2018 Langdon_. Sariford Page 287

 

4 Q- What did they - what did they tell you
5 when they asked you to prepare these questions?
6 A. Well, not - l lmean, when they asked me

7 to review the memo and provide input, it was

Cl'.'i

basically, you know, review it and give me your
9 opinion on it, really_

10 Q- Well, these are - this is a list of

11 questions

12 A. Yeah.

13 Q- And you said that-

14 A- And my opinion would be through - like,

15 what - in other words, what - you know, go

16 through it, and sort of like l mentioned earlier,
17 so l go through and l flag things that weren't

18 clear to me or that, you know, the analysis wasn‘t
19 clear or, like - you know, it's like a peer

20 review almost

21 Q. Somebody decided that you should respond

22 to the Abowd memo in the form of a series of

 

 

Fage 2681'305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 57 of 73

18-28-2818 Langdon. Sariford Page 289

 

1 MS- WELLS: Thanks.

2 MR. DURAISWAMY: Sure..

 

 

 

F'age 2701305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 58 of 73

10-28-2018 Langdon. Sanford Page 270

 

 

 

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Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 59 of 73

1 0-28-2018 Langdon, Sanford Page 271

 

12 Q. The - he characterized the proposal to

13 add a citizenship question to the 2020 census as
14 something that would be very costly, harm the

15 quality of the census count, and use substantially
16 less accurate citizenship status data than are

17 available from administrative sources, correct?
18 A. Uh-huh.

19 Q. This was not a recommendation to proceed
20 with the plan to add a citizenship question to the
21 2020 census correct?

22 A. So he was - he was not a fan of it, to

 

 

Page 2727305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 60 of 73

10-28-2018 Langdon. Sanford Page 272

 

1 say the le.ast, but -

 

 

Page 2731305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 61 of 73

10-28-2018 Langdon. Sariford Page 273

13 Q- So you don't know if there are data

 

14 quality issues with asking people to self-report

15 citizenship or not‘?

16 A. So you could -

17 Q- Or you don't have an opinion about that?

18 A._ He argued in the memo that there were -

19 there were1 you know, problems with the

20 non-citizenship estimate And so my response is,
21 okay, that's line ¥ou're saying this l

22 understand your point But then if it's such an

 

 

Page 274;'305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 62 of 73

10-28-2018 Langdon. Santord Page 278

 

1 questions you put on it, but it's the fi.ow of
2 them- So that's - you know', it's- not a-'minor
3 issue lt's not something you take lightly

4 Q- l agree

 

 

Page 2791"305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 63 of 73

10-28-2018 Langdon_, Sariford Page 279

 

5 Q- Did you participate in any meetings with

6 Secretary Ross in January, March - February or
7 March regarding this addition of a citizenship

8 question to the census?

9 A- No- Like - like, reviewing the

10 research, do you mean? Like - or pondering it
11 or...

12 Q- Any meetings with Secretary Ross

13 regarding the additional of a citizenship question
14 to the 2020 census?

15 A- l don't think so, no. No_ l mean, the

16 kind of meetings with the agenda you just showed
17 me, like the steering committee? Those kind of
18 things?

19 Q. Any meetings ls there something unclear
20 about my use of the word "meeting"?

21 A. No. Meeting is very clear. l appreciate

22 that

 

 

Fage 280{305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 64 of 73

10-28-2018 Langdon. Sanford Page 281

 

1 the questions in - l believe lt's Exhibit 15?

2 A_ Like, specifically?

3 Q- Yeah.

4 A- No, l can -

5 Q- Or generally-

6 A- l mean, generally, it probably would have

7 been John, and then it would have been cleared
8 through - you know, all the way up through Ron

9 Jan'nin_

 

16 Q. Do you think it would be appropriate if

17 someone at the Commerce Department changed answers
18 that were provided by the Census Bureau?

19 MS- WEI_LS: Object to form_

20 THE WlTNESS: | mean - appropriate? l

21 mean, look, when we receive materials of any

22 nature - this could be an example from the Census

 

 

Page 2321305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 65 of 73

10-28-2018 Langdon. Sariford Page 282

 

9

 

  

Bureau - there can be questions about it and
there 'can be a process by which it gets reviewed
and -ed ited or revised You know, that would
involve a dialogue with the Census Bureau about
what did you mean here, you know, what - what is
this, and it could involve Commerce Department
staff taking a pen and - you know, and revising

an answer, but not on a sort of one-off, freelance

basis_

10 BY MR- DURAISWAMYZ

 

 

Page 2831305

 

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 66 of 73

10-28-2018 Langdon, Sariford

 

4 Q- Okay. Do you know if your e-mail files

5 were searched for purposes of producing documents

01

in this lawsuit?

-iq

A. l` do know that and, yes, they were

8 searched

9 Q- Were your paper files searched?

10 A. Yes, l provided a folder of paper hles-

11 Q. You mentioned that you have - sometimes
12 take notes on the PowerPoint presentations that
13 are essentially - it sounds like pre-reads for
14 these monthly census team meetings, correct?
15 A- They’re more handouts during the meetings
16 as opposed to pre-reads But, yeah, l had a
17 file -- l have a file and l provided that

18 Q- For purposes of responding to discovery

19 in this case?

20 A. Yes.

21 Q. Do you ever send text messages for work

22 purposes?

Fage 2841305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 67 of 73

10-28-2018 Langdon. Sariford Page 292

 

1 A. Yeah, l don't know.

2 Q- Did you have any involvement in preparing

3 the March 26th memo announcing the decision to add
4 a citizenship question for the 2020 census?

5 A- No.

6 Q. Do you know Who was involved in that

7 process?

8 A- Not off the top of my head | don‘t

9 know-

10 Q- So you testified earlier that you were

11 not - strike that

 

Page 2931305

 

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 68 of 73

10-28-2018 Langdon. Sanforcl Page 293

 

 

 

F'age 294-1305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 69 of 73

10-28-2018 Langdon. Sariford Page 294

 

 

 

F'age 295!305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 70 of 73

10-28-2018 Langdon. Sariford

 

20 BY MR. D_URA[SWAMY;
21 Q. Take a look at `Exhibits 1;5, 16 and 17.

22 Does that refresh your recollection that that was

 

 

F'age 2961305

 

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 71 of 73

10-28-2018 Langdon. Sariford Page 298

 

1 day. Right?

2 Q. Did you review any other memos prepared
3 by John Abowd regarding the addition of a

4 citizenship question?

5 A- NO.

 

 

F'age 2991"305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 72 of 73

10-28-2018 Langdon. Sariford Page 299

 

15 Q- You have, like, not the slightest idea -

16 like, you don't even have a reasonable basis to
17 believe that Earl Comstock was involved in those
18 meetings?

19 A- And, of course - l mean, yeah, but, l

20 mean1 that's - you k-now, it's a question of who
21 is meeting when on what And it's not my'- l can

22 hypothesize, of- course l mean, it would be

 

 

Page 3001305

Case 1:18-cv-02921-.]l\/|F Document 510-3 Filed 11/07/18 Page 73 of 73

1 0-28-2018 Langdon, Sanford Page 301

 

1 CERT|FICATE OF NOTARY PUBL|C

2 l, Denise lvl. Brunet, the officer before

3 whom the foregoing deposition was taken, do hereby
4 certify that the witness whose testimony appears

5 in the foregoing deposition was sworn by me; that
6 the testimony of said witness was taken by me

7 stenographically and thereafter reduced to print

8 by means of computer-assisted transcription by me
9 to the best of my ability; that | am neither

10 counsel for, related to, nor employed by any of

11 the parties to this litigation and have no

12 interest financial or otherwise in the outcome

13 of this matter.

14 <%14541,Signature%>

15

 

16 Denise M. Brunet

17 Notary Public in and for
18 The District of Columbia
19

20 lvly commission expires:
21 December 14, 2022

22

 

Page 3027305

 

